                     CASE 0:18-cr-00150-DWF-HB Doc. 203 Filed 06/22/20 Page 1 of 1



✎AO 187 (Rev 7/87) Exhibit and Witness List




                                     UNITED STATES DISTRICT COURT
                                                                   DISTRICT OF



                                                                                                                 EXHIBIT LIST
UNITED STATES OF AMERICA,
                       Defendant
                  V.                                                                           Case No.: CR 18-150(1) DWF/HB

Michael Hari,
                                       Plaintiff
PRESIDING JUDGE                                     PLAINTIFF’S ATTORNEY                               DEFENDANT’S ATTORNEY
Donovan W. Frank                                   John Docherty, Julie Allyn, Allison Ethen          Shannon Elkins, James Becker

HEARING DATE (S)                                   COURT REPORTER                                     COURTROOM DEPUTY
June 22, 2020                                      Lynne Krenz                                        Lori Sampson

    PLF   DEF      DATE      MARKED                                                DESCRIPTION OF EXHIBITS
    NO    NO     OFFERED              ADMITTED
1               6/22/2020                X       Map of Illinois
2               6/22/2020                X       Clarence, Illinois (aerial view)
